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                                  U N I T E D S TAT E S D I S T R I C T C O U R T

                                          DISTRICT OF OREGON

                                            EUGENE DIVISION


PAUL KWAKE, an individual, DANIEL                                        Case No. 6:18-cv-603-JR

CAMPBELL, an individual, DOROTHY
                                                                         DEFENDANT     JODY   N.
HAWLEY, an individual, and GARY ROMINE, an
                                                                         CLINE'S MOTION TO
individual,                                                              DISMISS FIRST AMENDED
                    Plaintiffs,                                          COMPLAINT PURSUANT
                                                                        TO FRCP RULE 12(B)(6)
                     v s .

                                                                         ORAL ARGUMENT
FARIBORZ PAKSERESHT, in his official capacity                           REQUESTED
as Director of Human Services, State of Oregon; and
ASHLEY CARSON-COTTINGHAM, in her
capacity as Director of Office of Aging and People
with Disabilities, a division within the state
Department of Human Services, State of Oregon; and
JODY N. CLINE, in her capacity as Director of
Senior and Disability Services, a division within the
Lane Council of Governments,

                    Defendants.

                                      LR 7-l(A) CERTIFICATION

          The undersigned certifies that she has discussed the issues raised in this motion by

telephone and by email with Plaintiff Kwake, who purports to be acting on behalf of all
Plaintiffs. The parties have been unable to resolve the issues discussed in this motion.



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